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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

                                                                 )
       In re:                                                    )   Chapter 11
                                                                 )
       MOUNTAIN EXPRESS OIL COMPANY, et                          )   Case No. 23-90147 (DRJ)
       al., 1                                                    )
                                                                 )   (Jointly Administered)
                       Debtors.                                  )
                                                                 )

    NECESSITY LANDLORDS’ (I) OBJECTION TO DEBTORS’ REQUEST FOR
   EMERGENCY RELIEF AND TO SCHEDULE EXPEDITED HEARING UNDER
 LOCAL RULE OF BANKRUPTCY PROCEDURE 9013-1(i) AND (II) PRELIMINARY
OBJECTION TO DEBTORS’ EMERGENCY FIRST OMNIBUS MOTION FOR ENTRY
OF AN ORDER AUTHORIZING THE DEBTORS TO REJECT CERTAIN UNEXPIRED
LEASES, SUBLEASES AND RELATED CONTRACTS PURSUANT TO 11 U.S.C. § 365

        Landlords (i) AFN ABSPROP001, LLC, (ii) ARG MESMOAR001, LLC, (iii) ARG

MEVNAAL001, LLC, and (iv) ARG E19PCK001, LLC, each affiliated with The Necessity

Retail REIT, Inc. (collectively, the “Necessity Landlords”) hereby file this (I) Objection to

Debtors’ Request for Emergency Relief and to Schedule Expedited Hearing Under Local Rule of

Bankruptcy Procedure 9013-1(i) and (II) Preliminary Objection to the Emergency Motion

[Docket No. 295] (the “Rejection Motion”) 2 of the debtors and debtors in possession

(collectively, the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11 Cases”),

seeking, among other things, entry of an order on an emergency basis to reject certain leases with

the Necessity Landlords. In support of the Objection, the Necessity Landlords respectfully state

as follows:


1
    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the
    Debtors’ claims and noticing agent at www.kccllc.net/mountainexpressoil. The location of Debtor Mountain
    Express Oil Company’s principal place of business and the Debtors’ service address in these Chapter 11 Cases
    is 3650 Mansell Road, Suite 250, Alpharetta, GA 30022.
2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
    Rejection Motion.


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                                      PRELIMINARY STATEMENT

         1.         These cases appear to be in flux. Information flow from the Debtors has been

undisputedly constrained and even the limited information provided thus far reveals that the path

forward, and implementation of that path, are uncertain. The Debtors’ lack of disclosure is

troubling and compounding the uncertainty. By way of example, out of the blue, with one day’s

informal notice to the Necessity Landlords and without any apparent notice to the Committee,

and in an apparent response to the Necessity Landlords’ demand that the Debtors satisfy their

section 365(d)(3) obligation to pay April rent, the Debtors filed the Rejection Motion. In a

sudden self-created rush to file the Rejection Motion, the Debtors seem to have given no

consideration to the consequences of seeking such emergency relief. The Debtors certainly

provide no plan for dealing with those consequences.

         2.         This Rejection Motion is not a simple motion whereby a debtor rejects certain

unprofitable leases for premises from which they have vacated. Far from it. The Debtors here

operate in a highly regulated industry involving underground storage tanks ( the “UST’s”) where

the risks and consequences of unattended operations are significant. 3 The Rejection Motion

seeks to reject 28 “Primary Leases” with the Necessity Landlords and 27 subleases with 27

different sub-tenants who currently occupy and operate the properties in various capacities. The

Debtors also seek to reject another 27 agreements with parties who, among other things, operate

concessions, but not reject the fuel supply agreements under which the Debtors sell fuel products

to those rejected dealers that operate the convenience stores at those same subleased locations. 4


3
  The Debtors’ First Day Declaration of Michael Healy [ECF No. 57] (the “First Day Decl”) describes some of the
steps the Debtors claim to take to ensure state and regulatory environmental compliance, including visual
inspections and compliance inspections performed by a third party tank inspection service company and a related
party of the Debtors. See First Day Decl. at ¶ 17.
4
  It is unclear to the Necessity Landlords why the Debtors elected not to reject these fuel agreements if the operators
will no longer be in place.

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Incredibly, the Rejection Motion is silent as to the exit plan from these businesses, the surrender

of the premises, and an orderly transition process to among other things, ensure compliance with

the various state regulatory regimes governing ownership, operation and maintenance of the

UST’s. Other than claiming not to reject the Debtors’ or non-debtor affiliates’ provision of fuel

at these locations, the Motion ignores operations, or wind-down or transition of such operations.

        3.          The alleged emergency stems solely from the Debtors’ desire to reject the Leases

(defined below) prior to May 1, 2023, so as to avoid incurring the obligation for May rent. 5 The

Debtors provide no other factual basis for the emergency, and their actions indicate there is none.

If there was an emergency, one would anticipate the Debtors would have favored transparency

and immediately undertaken steps to coordinate among the more than 55 counterparties and

ensure a smooth transition (or any transition or cessation), out of these locations. The mere

nature of the operations requires it. The Debtors instead include absolutely no discussion or

disclosures or information as to whether the operations at these locations are being continued,

mothballed, or suspended, and there are significant differences and requirements for each. Nor

do they explain how they intend to properly surrender the premises by the May 1st payment date.

Even if all 27 sub-tenants and 27 other counterparties could vacate the premises by April 27th, it

wouldn’t necessarily be safe to do so. There needs to be a clear gameplan for operations and

addressing the USTs (testing, contamination, remediation, leak detection, etc.), including dealing

with the fuel onsite and in the UST’s. 6 The Leases include highly specific provisions for dealing

with the UST’s upon termination. These locations cannot sit idle. The Debtors cannot simply

5
  The Debtors include no location by location analysis or any information about the loss (if any) attributable to the
proposed rejected locations and specifically, the difference between the rent due under the Leases and the amounts
received by the Debtors from subleases, fuel contracts and other revenue sources.
6
  Pursuant to the Leases, the Debtors have indemnified the Necessity Landlords for all environmental liabilities and
losses arising at the sites, including for example in any way related to environmental laws, hazardous materials,
regulated substances, USTs, or other environmental matters concerning the property, including all fines, penalties,
claims or expenses imposed from environmental law and cost remediation.

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walk away and ignore state law requirements or put the public and environment at risk. The

proposed emergency relief invites chaos, risk and uncertainty and, potentially a legitimate

emergency.

        4.          There is a better path forward. Instead of hearing the Rejection Motion on an

emergency basis, the Debtors should coordinate and communicate with the counterparties and

Committee, and establish an organized process for dealing with the Leases, subleases and other

agreements. The Debtors must address whether the operations are being continued, suspended,

or terminated, and how necessary regulatory and safety compliance will be implemented. The

Debtors also need to explain how they propose to supply fuel to locations the Debtors themselves

are seeking to reject. The Debtors’ participation is essential, as the Necessity Landlords have no

information about the sub-tenant operators, their contracts with the Debtor-related environmental

service providers, or any open regulatory or environmental contamination issues. 7 In addition,

the Committee and other parties should be afforded reasonable time to review and access

information and form their own view on sale, versus termination and suspension, including the

costs and benefits of each approach and the time, nature, approach and cost of effectuating a

termination of operations at these locations. To reject these Leases and agreements precludes

optionality for the Debtors and these estates by losing the chance to sell the operations and

provide a process to transition operations. The Rejection Motion makes this impossible to

ascertain or consider. To state this simply, there should be a plan.

        5.          Given that the Debtors fail to demonstrate cause to shorten time, and the

possibility that an expedited hearing on shortened notice could result in unintended

environmental, safety, or other harm at the sites and may not be beneficial to the estates or

7
 The Necessity Landlords understand there was a fire at one of the locations. This location has no subtenant and is
subject to the Rejection Motion The Necessity Landlords have requested further information about insurance
proceeds and re-building of that site.

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creditors (and is harmful to the Necessity Landlords and other third parties), the Necessity

Landlords request that the Court deny any emergency determination of the Rejection Motion and

either schedule a hearing in the ordinary course or alternatively, allow the parties to develop a

comprehensive schedule and process for dealing with rejection to the extent warranted. This

very well may be a topic for consensual resolution among the Debtors, the Necessity Landlords,

the Committee, and any other relevant interest holders, but allowing the expedited timeline that

the Debtors request will make that impossible. Under these circumstances, it is premature to

consider the highly complicated, substantive relief sought through the Rejection Motion, and it

therefore should not be considered on the Debtors’ proposed “emergency” timeline.

                                             BACKGROUND

        6.          The Necessity Landlords are landlords under the twenty-eight (28) leases

(including a master lease) identified on Exhibit 1 to the Rejection Motion (collectively, the

“Leases”). A Debtor counterparty is tenant under each Lease and lessor under the subleases to

the operators. Each of the Leases generally requires, among other things, payment of all rent as

provided thereunder on the first day of each month.

        7.          To date, the Debtors have not paid any rent due and owing under the Leases from

January 2023 onwards except as set forth below. 8

        8.          On March 18, 2023 (the “Petition Date”), the Debtors commenced these Chapter

11 Cases by filing voluntary petitions for bankruptcy protection under chapter 11 of the




8
  For further background on the Leases and the Necessity Landlords’ efforts to enforce them prepetition, see the
Objection of the Necessity Landlords to Debtors’ Emergency Motion for Entry of Interim and Final Orders (I)
Authorizing the Debtors to (A) Obtain Postpetition Financing and (B) Use of Cash Collateral, (II) Granting Liens
and Providing Superpriority Administrative Expense Claims, (III) Granting Adequate Protection to Prepetition
Secured Parties, (IV) Modifying the Automatic Stay, (V) Scheduling a Final Hearing, and (VI) Granting Related
Relief [Docket No. 293] (the “DIP Objection”) filed on April 18, 2023.

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Bankruptcy Code. No trustee has been appointed and the Debtors continue to operate their

businesses as debtors-in-protection.

        9.          As of the date of this Objection, the Necessity Landlords have not received any

payment on account of April rent under any of the Leases that are subject to the Rejection

Motion. The Landlords received a belated partial payment on account of the remaining Leases

(i.e. those that were not the subject of the Rejection Motion) on April 21, 2023. The Debtors still

have paid no rent from January to March 2023 under any of the Leases.

        10.         The Debtors, non-debtor affiliates, their sub-tenants or other counterparties are

currently in possession of and using and operating the leased properties. These operations

generally include the use and operation of USTs at each of the leased premises for purposes of

storing and selling fuel subject to fuel supply agreements, as well as various operations related to

the management of convenience stores on the leased premises. As a potential environmental

hazard, the USTs are subject to various state and federal regulations and environmental laws, as

observed by the Debtors in the First Day Decl. These regulations include, but are not limited to,

the requirement to have the USTs regularly inspected, a role that the Necessity Landlords

understands to be filled by certain non-debtor affiliates of the Debtors. The Necessity Landlords

neither own nor operate the USTs at each of the leased premises. The Necessity Landlords have

virtually no recent information as to the operations of the leased premises.

        11.         The Debtors have neither sought nor been granted any extension of their

postpetition obligations (including with respect to the Leases) under § 365(d)(3) of the

Bankruptcy Code.

        12.         On April 18, 2023, the Debtors filed the Rejection Motion.




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                                             OBJECTION

        13.         Bankruptcy Rule 9006(d) provides that “a written motion . . . and notice of any

hearing shall be served not later than seven days before the time specified for such hearing[,]”

and that “any written response shall be served not later than one day before the hearing . . . .”

Local Rule 9013-1(b) provides that any responsive pleading to a motion filed in the Bankruptcy

Court must be filed and served within 21 days of the date that such motion was served. Thus,

the Necessity Landlords would normally have until May 9, 2023 to file any response to the

Rejection Motion, with a hearing scheduled for a date thereafter.

        14.         Furthermore, under Bankruptcy Rule 9014(c), the evidentiary provisions of, inter

alia, Bankruptcy Rule 7026 and 7028–37 apply to contested matters brought by motion.

Therefore, under normal circumstances, the Necessity Landlords or other parties would have

time to obtain information and documents from the Debtors or otherwise be entitled to conduct

discovery and an opportunity to work out an agreed plan as to the operations, whether that plan is

to continue, transition or suspend operations, and address other attendant issues, challenges and

regulatory compliance and licensing, if required. Time is especially important here, where the

Debtors provide very little information or disclosures and the operations are extremely

complicated.

        15.         Instead, the Debtors are asking for expedited relief and a hearing to be held on

April 27th, with any responses due by that time and relief to be entered on that same day. The

Debtors provide no evidence however, by affidavit or otherwise, of the alleged emergency nature

of the relief sought through the Rejection Motion. The only basis proffered is that the Debtors

will incur their May rent obligations if they fail to reject the Leases prior to May 1, 2023. But

the Debtors do not explain the performance at these locations and the difference between the rent



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obligation under the Leases and the revenue the Debtors generate at those locations. In fact, the

record indicates that despite not paying rent since January, the Debtors have acted with no sense

of urgency to organize and undertake a responsible process for dealing with the 50 counterparties

at 28 locations and addressing the lease issues.

        16.         This is a manufactured “emergency” entirely of the Debtors’ own making. The

Debtors have thus far not provided any information concerning the subleases or the identities of

the sub-tenants, the operations or regulatory or licensing compliance. This is fundamental

information of which the Necessity Landlords, Committee and other parties should be aware.

The Debtors have not explained what outreach has been made to these various sub-tenants who

may not have counsel representing them in these cases. The Debtors have not explained how

and why they are continuing to supply fuel to these locations since those contracts are not to be

rejected, or how the Debtors are dealing with the USTs. The Debtors appear to assume that they

can obtain a rejection order on April 27th without telling the Court any of this information and

then wipe out any obligations or responsibilities they have, resulting in chaos, and potentially

litigation, over these locations.

        17.         In contrast to the Debtors’ illusory emergency, granting the expedited relief could

in fact engender legitimate emergencies at the leased premises and throw operations into chaos.

Each of the USTs requires specialized and regular service, maintenance, and oversight. The

Necessity Landlords are not aware of who provides these services for the USTs, and the Debtors’

plan to simply reject the Leases (and their corresponding sub-leases) as of April 27 puts forth no

transition plan or details whatsoever. The Necessity Landlords have no idea what the Debtors

intend to do with the USTs at the leased premises, and is unaware if the Debtors know either.

These USTs pose significant environmental hazards if not properly maintained and serviced.



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The Debtors cannot simply walk out on their regulatory and environmental responsibilities

without communicating any kind of plan or process for doing so. That is, however, exactly what

the Debtors intend to do, rather than address the “emergency” of incurring May rent under the

Leases. It bears mentioning as well that, because of the Debtors’ indemnity obligations under

the Leases, any problems arising from abandonment of the USTs could result in a substantial

liability for the Debtors and their estates, potentially far in excess of whatever the May rent

obligations would be.

        18.         Further complicating matters is the fact that each site is further subject to

additional agreements, including but not limited to fuel supply agreements (which implicate the

USTs), which information once again the Debtors have not provided to the Necessity Landlords.

The Necessity Landlords lack any kind of clarity on the situation that will result from rejection of

the Leases, and an unwarranted acceleration of that process will only serve to further complicate

matters to the Necessity Landlords’ prejudice.

        19.         To the best of the Necessity Landlords’ knowledge (which knowledge is limited

by the Debtors’ lack of facilitation and disclosure), each of the properties subject to the Leases is

still currently occupied by the Debtors’ sublessee. The Debtors do not provide justification as to

why the Court should enter a rejection order while the premises remain occupied by their sub-

tenants. See, e.g., In re Chi-Chi’s, Inc., 305 B.R. 396, 399 (Bankr. D. Del. 2004) (denying

retroactive effective date of rejection because premises were still occupied by sublessee, because

“[t]he more appropriate date is the day that the Debtors surrendered the premises to the

Landlords, and the Landlords were able to enter into agreements with the current tenants); In re

Cafeteria Operators, L.P., 299 B.R. 384, 394 (Bankr. N.D. Tex. 2003) (same).




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        20.         There is no emergency here. The Debtors defaulted on the Leases in January

2023 at the latest, prompting the Necessity Landlords to send multiple demand letters and finally

bring state court actions against the Debtors to enforce the terms of the Leases. During the entire

timespan, the Debtors’ subtenants have occupied the properties and presumably continued to pay

the Debtors rent, while the Debtors remitted nothing to the Necessity Landlords. Operations

continue and presumably the Debtors and operators have been in compliance with all regulatory

and leasing requirements. The Debtors have not notified the Necessity Landlords of any issues.

In fact, the Debtors have not provided any information to the Necessity Landlords for a period of

time. Nothing new or immediate has been occasioned by the Debtors’ bankruptcy filing. The

Necessity Landlords are not aware of any new or immediate issues.             If this were a true

emergency, the Debtors would have (i) filed the Rejection Motion immediately after the Petition

Date, (ii) not have given a ten-day window for the requested relief and (iii) taken clear steps to

effectuate an orderly winddown or transition of the premises. There has been no discussion

whatsoever about the operations with the Necessity Landlords.

        21.         The Court should not reward the Debtors’ purposeful delay by granting the

Rejection Motion on an emergency basis, to the prejudice of the Necessity Landlords and the

detriment of the Debtors’ estates. Rather, the Court should schedule the Rejection Motion on the

Court’s calendar in the ordinary course, and allow sufficient time for the Necessity Landlords to

obtain information and documents or otherwise conduct discovery, consider what is the best path

forward, the merits of a sale versus rejection, and the Debtors, Committee, Necessity Landlords,

and other relevant parties should begin to discuss a continuation or orderly winddown,

suspension, or transition process. There is an approach here, but that approach will take time.




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        22.         Furthermore, providing the usual timeline to gather information and documents

and allowing discovery will allow the Necessity Landlords, Committee, and other interest

holders, including the Committee, to properly investigate and test the Debtors’ plan. Indeed, it

appears possible that the Necessity Landlords, the Debtors, and other interest holders like the

Committee could reach a consensual plan to facilitate the Debtors’ rejection of these Leases and

their abandonment of the leased premises back to the Necessity Landlords. The Necessity

Landlords are certainly willing to entertain any discussions to that effect. However, any realistic

path forward is simply impossible on the Debtors’ proposed schedule. The Debtors have not

afforded either information or time enough to make that possible.

        23.         The Debtors have provided no information or documents related to sites subject to

the Leases, which at a minimum should have been provided to the Necessity Landlords and the

Committee in order to determine if there is any “value” associated with the Leases and the costs

and other exposure with respect to the treatment of operations at these locations. While the

Rejection Motion claims that the Debtors’ fuel supply agreements partially offset the “delta”

between the rent paid under the Leases and the rent received under the associated subleases, the

Debtors apparently fail to account for other associated sales, such as food and beverage, etc. Nor

they disclose the overall “delta” at each property. The Rejection Motion also fails to consider

the costs of the path that the Debtors seem to be taking and the costs of failing to allow a sale

process to occur.

        24.         Furthermore, the Debtors’ business model is based upon subleasing at a

commercially lower rate with the expectation of recouping those amounts through the fuel

supply agreements. Other potential lessees may have more profitable uses for the sites that will

make the Leases more appealing. If the Court grants the Rejection Motion on an emergency



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basis, the Debtors’ estates will never know if that is the case, and any potential value that could

have been realized through assignment will instead be converted in an unsecured claim in the

millions of dollars. In fact, rejection on an expedited basis will cause chaos rather than any

orderly winddown or transition. The Debtors should not be permitted to take such drastic action

without giving the Necessity Landlords, the Committee, and any other stakeholders an

opportunity to examine alternatives and determine if the Debtors’ statements are supported or

not, and if supported, provide for a winddown and surrender that is orderly and designated to

efficiently winddown operations and surrender the properties.

          25.       In short, there is no reason or basis for entertaining the substantive merits of the

Rejection Motion on an emergency basis.               Interest holders must be given the necessary

information and the opportunity to determine if a consensual path forward is possible. There will

be a detrimental impact to these estates should the Debtors simply file the Rejection Motion,

provide no information or documents concerning the financials or the day-to-day operations of

the leased premises, including the critically important information and plan for the USTs,

regulatory and environmental and licensing compliance, and then walk away from the Leases..

The Court should therefore deny the expedited relief sought by the Rejection Motion and allow

matters to proceed along a reasonably timeline.

                                     RESERVATION OF RIGHTS

          26.       The Necessity Landlords reserve all rights to supplement and/or amend this

Objection prior to or at any hearing thereon, in the event that the Necessity Landlords’ objections

raised herein are not resolved or to further address the Rejection Motion or any other ancillary

issues.




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                                        CONCLUSION

        WHEREFORE, The Necessity Landlords respectfully request that this Court enter an

order (i) denying emergency relief with respect to the Rejection Motion, (ii) scheduling a hearing

on the Rejection Motion in the ordinary course in accordance with the Bankruptcy Rules and the

Local Rules, and (iii) granting such other relief as the Court may deem proper.


Dated: April 23, 2023                               ARENTFOX SCHIFF LLP
       New York, New York
                                                    /s/ Andrew I. Silfen___________________
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                                CERTIFICATE OF SERVICE

I certify that on April 23, 2023, a copy of this document was served via electronic mail on all

counsel of record via the Court’s CM/ECF system.

                                                     /s/ Andrew I. Silfen
                                                     Andrew I. Silfen




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